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US v Nordean, defense notes produced to news media

Nicholas Smith <nds@davidbsmithpllc.com> Mon, May 8, 2023 at 10:06 AM
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Chambers,
The defense has been contacted by a reporter who says she is in possession of notes exchanged at the defense table
during the recent trial. While we have not seen images of them, we understand that some number of the notes contain

attorney-client communications.

The reporter represents that she obtained the notes in the following way. After trial one day, a source provided the written
communications to her in the courtroom.

The defense table stands on the nonpublic side of the bar. News media do not have access to that part of the courtroom.
Thus it appears that someone collected notes from the defense table and handed them in a bundle to a member of the
press who asked for them.

Can the court please let us know whether it has information shedding light on how this may have occurred?

Thank you.

Nick Smith
